Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 1 of 20 PageID 1




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

  KATINA MALLORY,

          Plaintiff,

  vs.                                                  CASE NO.:

  HALIFAX STAFFING, INC.,

        Defendant.
  __________________________/

                       COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiff KATINA MALLORY (“Plaintiff”), sues the Defendant HALIFAX

  STAFFING, INC. (“Defendant”), and in support thereof states as follows:

                                         INTRODUCTION

          1.      This is an action brought pursuant to the Family and Medical Leave Act, as

  amended, 29 U.S.C. § 2601, et seq. (“the FMLA”), Title VII of the Civil Rights Act of

  1964, as amended, by the Civil Rights Act of 1991, 42 U.S.C. §2000e et seq. (“Title

  VII”), the Florida Civil Rights Act of 1992, Fla. Stat. §760.01 et seq. (“FCRA”), the Civil

  Rights Act of 1866, 42 U.S.C. §1981 (“Section 1981”), the Americans with Disabilities

  Act, as amended, (“ADAAA”), 42 U.S.C. 12101, et seq.,to recover front pay, back pay,

  an equal amount as liquidated damages, reinstatement, lost benefits, compensatory

  damages, emotional distress damages, pain and suffering, injunctive relief, reasonable

  attorneys’ fees and costs and any other relief to which the Plaintiff is entitled including

  but not limited to equitable relief.
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 2 of 20 PageID 2




                                                 PARTIES

          2.      Plaintiff is an adult individual who resides in Daytona Beach, Volusia

  County, Florida.

          3.      Defendant HALIFAX STAFFING, INC. is and was, at all relevant times,

  operating in Volusia County, Florida, and is within the jurisdiction of this Court. Therefore,

  venue is proper in this Court.

          4.      Defendant was an employer as defined by the laws under which this action is

  brought and employs greater than 15 employees.

                                   JURISDICTION AND VENUE

          5.      The Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.

  §1331 with federal questions involving Title VII, Section 1981, ADAAA and 28 U.S.C.

  §1337 and the FMLA and the authority to grant declaratory relief under the FMLA,

  pursuant to 28 U.S.C. § 2201 et seq., and the FCRA, 28 U.S.C. §1367, because at all times

  material to this Complaint, Plaintiff worked for Defendant in Volusia County, Florida.

          6.      The illegal conduct complained of and the resultant injury occurred within

  the judicial district in and for Volusia County, Florida.

          7.      Plaintiff filed a Charge of Discrimination with the Equal Employment

  Opportunity Commission (“EEOC”) on May 31, 2019. On September 9, 2019, the EEOC

  issued its right-to-sue letter. Therefore this Complaint is being filed within 90 days of

  Plaintiff receiving her right-to-sue letter.

                                   GENERAL ALLEGATIONS

          8.      At all times material, Defendant acted with malice and with reckless



                                                    2
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 3 of 20 PageID 3




  disregard for Plaintiff’s federally protected rights.

          9.      Plaintiff retained the law firm of MORGAN & MORGAN, P.A. to represent

  Plaintiff in the litigation and has agreed to pay the firm a reasonable fee for its services.

          10.     Plaintiff is an African-American female and was employed by Defendant

  from on or about August 1, 2010 through February 2019, as a Registered Nurse in the

  ICU Trauma Unit.

                                              FACTS

          11.     On or about November 16, 2018, Plaintiff was involved in a motor vehicle

  accident and sustained neck and lower back injuries. These injuries were a “serious health

  condition” as defined by the FMLA.

          12.     Due to the injuries sustained in the accident, Plaintiff was unable to work

  and accordingly, went out on approved FMLA leave beginning on or about November 19,

  2018.

          13.     Plaintiff’s FMLA leave was scheduled to expire on or about the first week of

  February 2019. On January 29, 2019, Plaintiff’s doctor released her to return to work on

  light duty with the restriction that Plaintiff not lifting more than 35 pounds. This light duty

  order from Plaintiff’s doctor indicated Plaintiff would be re-evaluated in thirty (30) days.

          14.     On that same day, January 29, 2019, Plaintiff contacted her manager Greg

  Tumblin, and informed him that she had been released to return to work on light duty, with

  the restriction of not lifting more than 35 pounds.              Thus, Plaintiff requested an

  accommodation to return to work on light duty for at least 30 days.

          15.     In response to Plaintiff’s request, Tumblin stated that he did not have light



                                                  3
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 4 of 20 PageID 4




  duty work and therefore Plaintiff could not return to work.

          16.     Plaintiff was surprised by Tumlin’s response because she was personally

  aware of two other nurses who were allowed to perform light duty work as an

  accommodation. Both nurses, Amanda Loux and Amanda Buckley-Colvin are white.

             17. Plaintiff nonetheless offered to perform the same light duty work as the two

  white nurses, as well as other possible light duty jobs, including Resources Nurse, Chart

  Checks, Charge Nurse and Sitter. Plaintiff was denied her request for an accommodation to

  work in each of these capacities and was informed that unless she returned back to work at

  full duty, her position would be terminated.

             18. Because Plaintiff was denied her request to return to work on light duty as

  RN in the ICU Trauma Unit, Plaintiff applied for other positions within Halifax: Hospice

  Liaison, Charge Nurse and ED Supervisor, but was not hired for either position.

             19. Plaintiff was then informed that Halifax was terminating her employment.

             20. Plaintiff believes her termination was in retaliation for complaining about

  race discrimination and because of her request for an accommodation under the ADAAA.

             21. Plaintiff has suffered damages as a result of Defendant’s unlawful conduct.

             22. Plaintiff filed a Charge of Discrimination with the Equal Employment

  Opportunity Commission (“EEOC”) on May 31, 2019. On September 9, 2019, the EEOC

  issued its right-to-sue letter. Therefore this complaint is being filed within 90 days of

  Plaintiff receiving her right-to-sue letter.

             23. Plaintiff seeks all available remedies including but not limited to a




                                                 4
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 5 of 20 PageID 5




  declaration from this Court that Defendant has violated the FMLA; an order awarding lost

  wages, benefits and other compensation; an order awarding all actual monetary losses

  suffered as a result of Defendant’s conduct, as well as liquidated damages, per se and post

  judgment interest and her attorneys’ fees and costs.

  COUNT I – DISCRIMINATION BASED ON RACE IN VIOLATION OF TITLE VII

          24.     Plaintiff re-alleges and adopts the allegations stated in Paragraphs 1-23.

          25.     Plaintiff is a member of a protected class due to her race.

          26.     By the conduct described above, Defendant engaged in unlawful

  employment practices and discriminated against Plaintiff on the basis of her race in violation

  of Title VII.

          27.     Defendant knew or should have known of the discrimination.

          28.     The above discrimination was done by Defendant with a reckless disregard

  for Plaintiff’s rights under federal law. As a direct and proximate result of the discrimination

  described above, Plaintiff has suffered and continues to suffer loss of employment, loss of

  income, loss of other employment benefits and has suffered and continues to suffer mental

  anguish, distress, humiliation, great expense and loss of enjoyment of life.

          WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

  allowed by law including:

                  a.      Back pay and benefits;

                  b.      Interest on back pay and benefits;

                  c.      Front pay and benefits;

                  d.      Compensatory damages for emotional pain and suffering;



                                                 5
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 6 of 20 PageID 6




                 e.       Injunctive relief;

                 f.       Prejudgment interest;

                 g.       Costs and attorney’s fees; and

                 h.       Such other relief as the Court may deem just and proper.

                             COUNT II
     DISCRIMINATION BASED ON RACE IN VIOLATION OF SECTION 1981

            29. Plaintiff re-alleges and adopts paragraph 1 – 23 as though set forth fully

  Herein.

            30. Plaintiff is member of protected class under Section 1981due to her race.

            31. By the conduct described above, Defendant engaged in unlawful

  employment practices and discriminated against Plaintiff on the basis of her race in

  violation of Section 1981.

            32. Defendant knew or should have known of the discrimination.

            33. The above discrimination was done by Defendant with a reckless

  disregard for Plaintiff’s rights under federal law. As a direct and proximate result of the

  discrimination described above, Plaintiff has suffered and continues to suffer loss of

  employment, loss of income, loss of other employment benefits and has suffered and

  continues to suffer mental anguish, distress, humiliation, great expense and loss of

  enjoyment of life.

                 WHEREFORE, Plaintiff prays for a trial by jury and all legal and

  equitable relief allowed by law including:

                       a. Back pay and benefits;

                       b. Interest on back pay and benefits;


                                                  6
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 7 of 20 PageID 7




                       c. Front pay and benefits;

                       d. Compensatory damages for emotional pain and suffering;

                       e. Injunctive relief;

                       f. Prejudgment interest;

                       g. Costs and attorney’s fees;

                       h. Punitive damages; and,

                       i. Such other relief as the Court may deem just and proper.

                  COUNT III-DISCRIMINATION UNDER THE ADAAA

             34. Plaintiff realleges and adopts the allegations of paragraphs 1-23 above as if

  fully set forth herein.

          35.     Plaintiff was a qualified individual with a disability.

          36.     Plaintiff was perceived as disabled by Defendant.

          37.     Defendant was Plaintiff’s employer as defined by the ADAAA.

          38.     Defendant discriminated against Plaintiff because of her actual or perceived

  disability in violation of the ADAAA.

          39.     Defendant discriminated against Plaintiff because she exercised her rights

  under the ADAAA by notifying Defendant of her request for an accommodation of working

  for health reasons. Plaintiff also believes she was discriminated against because of her actual

  and/or perceived disability.

          40.     Defendant had actual or constructive knowledge of the discriminatory

  conduct.




                                                  7
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 8 of 20 PageID 8




         41.     Defendant’s acts and omissions negatively affected one or more terms,

  conditions and/or privileges of Plaintiff’s employment.

         42.     Defendant’s conduct violated Plaintiff’s right to be free from discrimination

  as guaranteed by the ADAAA.

         43.     Plaintiff has no plain, adequate or complete remedy at law for the actions of

  Defendant, which have caused and continue to cause irreparable harm.

         44.     Defendant’s violations of the ADAAA were willful.

         45.     Plaintiff is entitled to recover her attorneys’ fees and costs pursuant to the

  ADAAA.

         WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

  allowed by law including:

         a.      Back pay and benefits;

         b.      Interest on back pay and benefits;

         c.      Front pay and benefits and/or lost earning capacity;

         d.      Compensatory damages for emotional pain and suffering;

         e.      Injunctive relief;

         f.      Prejudgment interest;

         g.      Declaratory judgment that Defendant’s practices violate the ADAAA;

         h.      Costs and attorney’s fees; and

         i.      Such other relief as the Court may deem just and proper.

                             COUNT IV
       DISCRIMINATION BASED ON RACE IN VIOLATION OF THE FCRA

         46.     Plaintiff re-alleges and adopts paragraph 1 – 23 as though set forth fully


                                                  8
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 9 of 20 PageID 9




  herein.

            47.    Plaintiff is a member of a protected class due to her race.

            48.    By the conduct described above, Defendant engaged in unlawful

  employment practices and discriminated against Plaintiff on the basis of her race in

  violation of the FCRA.

            49.    Defendant knew or should have known of the discrimination.

            50.    The above discrimination was done by Defendant with a reckless

  disregard for Plaintiff’s rights under state law. As a direct and proximate result of the

  discrimination described above, Plaintiff has suffered and continues to suffer loss of

  employment, loss of income, loss of other employment benefits and has suffered and

  continues to suffer mental anguish, distress, humiliation, great expense and loss of

  enjoyment of life.

            WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

  allowed by law including:

                   a. Back pay and benefits;

                   b. Interest on back pay and benefits;

                   c. Front pay and benefits;

                   d. Compensatory damages for emotional pain and suffering;

                   e. Injunctive relief;

                   f. Prejudgment interest;

                   g. Costs and attorney’s fees; and

                   h. Such other relief as the Court may deem just and proper.



                                                 9
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 10 of 20 PageID 10




                             COUNT V
    DISCRIMINATION BASED ON DISABILITY IN VIOLATION OF THE FCRA

          51.     Plaintiff re-alleges and adopts the allegations stated in Paragraphs 1-23.

          52.     Plaintiff is a member of a protected class due to her disability/handicap.

          53.     By the conduct described above, Defendant engaged in unlawful

   employment practices and discriminated against Plaintiff on the basis of her

   disability/handicap in violation of the FCRA.

          54.     Defendant knew or should have known of the discrimination.

          55.     The above discrimination was done by Defendant with a reckless

   disregard for Plaintiff’s rights under state law. As a direct and proximate result of the

   discrimination described above, Plaintiff has suffered and continues to suffer loss of

   employment, loss of income, loss of other employment benefits and has suffered and

   continues to suffer mental anguish, distress, humiliation, great expense and loss of

   enjoyment of life.

          WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

   allowed by law including:

                  a. Back pay and benefits;

                  b. Interest on back pay and benefits;

                  c. Front pay and benefits;

                  d. Compensatory damages for emotional pain and suffering;

                  e. Injunctive relief;

                  f. Prejudgment interest;

                  g. Costs and attorney’s fees; and


                                               10
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 11 of 20 PageID 11




                  h. Such other relief as the Court may deem just and proper.

                                        COUNT VI
                                   FMLA INTERFERENCE

          56.     Plaintiff re-alleges and adopts the allegations stated in Paragraphs 1-23.

          57.     Plaintiff was an employee entitled to the protection of the FMLA.

          58.     Defendant was Plaintiff’s employer as defined by the FMLA.

          59.     Defendant’s actions interfered with Plaintiff’s lawful exercise of her

   rights under the FMLA.

          60.     The Defendant’s actions constitute violations of the FMLA.

          61.     Defendant’s violations of the FMLA were willful.

          62.     As a result of Defendant’s unlawful actions, Plaintiff has suffered

   damages for which she is entitled to compensation, including, but not limited to lost

   wages and benefits, future pecuniary losses, emotional pain, suffering, inconvenience,

   mental anguish, loss of enjoyment of life and other non-pecuniary losses.

          63.     Plaintiff is entitled to recover her attorneys’ fees and costs.

          WHEREFORE, Plaintiff, KATINA MALLORY, demands judgment against

   Defendant back pay and benefits, Interests, an equal amount as liquidated damages, other

   monetary damages, equitable relief, declaratory relief, punitive damages, and reasonable

   attorneys’ fees and costs, and any and all further relief that this Court determines to be

   just and appropriate.

                                  COUNT VII
                     RETALIATION IN VIOLATION OF TITLE VII

          64.     Plaintiff re-alleges and adopts paragraph 1 – 23 as though set forth fully



                                                11
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 12 of 20 PageID 12




   herein.

             65.    Plaintiff is member of protected class under Title VII because she engaged

   in protective activities.

             66.    Plaintiff also engaged in protected activity when she complained about

   what she believed to be racial discrimination when Defendant allowed two white females

   to perform light duty work as an accommodation.

             67.    This retaliation ultimately resulted in Plaintiff’s termination.

             68.    By the conduct described above, Defendant retaliated against Plaintiff

   because she engaged in protected activities in violation of Title VII.

             69.    Defendant knew, or should have known; of the retaliation that Plaintiff

   was subjected.

             70.    At all times material hereto, Defendant acted with malice and reckless

   disregard for Plaintiff’s federally protected rights.

             WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

   allowed by law including:

             a.     Back pay and benefits;

             b.     Interest on back pay and benefits;

             c.     Front pay and benefits;

             d.     Compensatory damages for emotional pain and suffering;

             e.     Injunctive relief;

             f.     Prejudgment interest;

             g.     Costs and attorney’s fees; and



                                                  12
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 13 of 20 PageID 13




             h.     Such other relief as the Court may deem just and proper.

                                    COUNT VIII
                     RETALIATION IN VIOLATION OF SECTION 1981

             71.    Plaintiff re-alleges and adopts paragraph 1 – 23 as though set forth fully

   herein.

             72.    Plaintiff is member of protected class under Section 1981 because she

   engaged in protective activities.

             73.    Plaintiff also engaged in protected activity when she complained about

   what she believed to be racial discrimination when Defendant allowed two white females

   to perform light duty work as an accommodation.

             74.    This retaliation ultimately resulted in Plaintiff’s termination.

             75.    By the conduct described above, Defendant retaliated against Plaintiff

   because she engaged in protected activities in violation of Section 1981.

             76.    Defendant knew, or should have known; of the retaliation that Plaintiff

   was subjected.

             77.    At all times material hereto, Defendant acted with malice and reckless

   disregard for Plaintiff’s federally protected rights.

             WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

   allowed by law including:

             a.     Back pay and benefits;

             b.     Interest on back pay and benefits;

             c.     Front pay and benefits;

             d.     Compensatory damages for emotional pain and suffering;


                                                  13
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 14 of 20 PageID 14




          e.        Injunctive relief;

          f.        Prejudgment interest;

          g.        Costs and attorney’s fees; and

          h.        Such other relief as the Court may deem just and proper.

                              COUNT IX
       RETALIATION IN VIOLATION OF DISCRIMINATION UNDER ADAAA

          78.       Plaintiff realleges and adopts the allegations of paragraphs 1-23

          above as if fully set forth herein.

          79.       Plaintiff requested an accommodation under the ADAAA to work light

   duty for at least thirty (30) days because of her disability. However, without engaging in

   an interactive process, Tumblin denied Plaintiff’s accommodation request.

          80.       After Tumblin’s denial of Plaintiff’s request for an accommodation,

   Plaintiff offered to work other possible light duty jobs as Amanda Loux and Amanda

   Buckley-Covin and other light duty jobs such as Resources Nurse, Chart Checks, Charge

   Nurse and Sitter.

          81.       Plaintiff was denied her request for an accommodation to work in each of

   these capacities and was informed that unless she returned back to work on full duty, her

   position would be terminated.

          82.       Because Plaintiff was not granted an accommodation to return to work on

   light duty as RN in the ICU Trauma Unit, she applied for three other positions in Halifax

   including Hospice Liaison, Charge Nurse and ED Supervisor but was not hired for any of

   the positions.

          83.       Plaintiff was then informed that Halifax would be severing ties with her.


                                                 14
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 15 of 20 PageID 15




          84.       Plaintiff engaged in protected activity when she requested an

   accommodation under the ADAAA.

          85.       Plaintiff was terminated in retaliation for requesting an accommodation

   under the ADAAA.

          86.       This retaliation resulted in Plaintiff’s termination.

          87.       By the conduct described above, Defendant retaliated against Plaintiff

   because she engaged in protected activities in violation of the ADAAA.

          88.       Defendant knew, or should have known; of the retaliation that Plaintiff

   was subjected.

          89.       At all times material hereto, Defendant acted with malice and reckless

   disregard for Plaintiff’s federally protected rights.

          WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

   allowed by law including:

          a.        Back pay and benefits;

          b.        Interest on back pay and benefits;

          c.        Front pay and benefits and/or lost earning capacity;

          d.        Compensatory damages;

          e.        Damages for mental anguish and emotional distress;

          f.        Injunctive relief;

          g.        Prejudgment interest;

          h.        Declaratory judgment that Defendant’s practices violate the ADAAA;

          i.        Costs and attorney’s fees; and



                                                  15
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 16 of 20 PageID 16




          j.        Such other relief as the Court may deem just and proper.

                                     COUNT X
                       RETALIATION IN VIOLATION OF THE FCRA

          90.       Plaintiff re-alleges and adopts paragraphs 1 – 23 as though set forth fully

          herein.

          91.       Plaintiff is a member of a protected class under the FCRA because she

   engaged in protective activities.

          92.       Plaintiff engaged in protected activity when she complained to Human

   Resources about being treated differently because of her race and discrimination that she

   experienced.

          93.       Plaintiff also engaged in protected activity when she filed her charge of

   discrimination against Defendant.

          94.       This retaliation resulted in Plaintiff’s termination.

          95.       By the conduct described above, Defendant treated Plaintiff differently

   than her non-African-American co-workers and engaged in unlawful employment

   practices and retaliated against Plaintiff because she engaged in protected activities in

   violation of the FCRA.

          96.       Defendant knew, or should have known, of the retaliation, discrimination

   and harassment that Plaintiff was subjected.

          97.       At all times material hereto, Defendant acted with malice and reckless

   disregard for Plaintiff’s state and federally protected rights.

          WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

   allowed by law including:


                                                  16
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 17 of 20 PageID 17




                a. Back pay and benefits;

                b. Interest on back pay and benefits;

                c. Front pay and benefits;

                d. Compensatory damages for emotional pain and suffering;

                e. Injunctive relief;

                f. Prejudgment interest;

                g. Costs and attorney’s fees; and

                h. Such other relief as the Court may deem just and proper.

                             COUNT XI - FMLA RETALIATION

          98.      Plaintiff re-alleges and adopts the allegations stated in Paragraphs 1 - 23.

          99.      Plaintiff was an employee entitled to the protection of the FMLA.

          100.     Defendant was Plaintiff’s employer as defined by the FMLA.

          101.     Defendant discriminated and/or retaliated against Plaintiff for asserting her

   Rights under the FMLA.

          102.     Defendant had actual or constructive knowledge of the discriminatory

   and/or retaliatory conduct of Plaintiff’s supervisor.

          103.     Defendant’s actions constitute violations of the FMLA.

          104.     Defendant’s acts and omissions negatively affected one or more terms,

   conditions and/or privileges of Plaintiff’s employment.

          105.     Defendant’s discriminatory acts and omissions occurred, at least in part,

   because of Plaintiff’s request for FMLA covered leave.

          106.     Defendant’s conduct violated Plaintiff’s right to be free from



                                                17
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 18 of 20 PageID 18




   discrimination/retaliation as guaranteed by the FMLA.

             107.   As a result of Defendant’s actions, Plaintiff has suffered damages for

   which she is entitled to compensation, including, but not limited to lost wages and

   benefits, future pecuniary losses, emotional pain, suffering, inconvenience, mental

   anguish, loss of enjoyment of life and other non-pecuniary losses.

             108.   Defendant’s violations of the FMLA were willful.

             109.   Plaintiff is entitled to recover her attorneys’ fees and costs.

             WHEREFORE, Plaintiff, KATINA MALLORY, demands judgment against

   Defendant back pay and benefits, Interests, an equal amount as liquidated damages, other

   monetary damages, equitable relief, declaratory relief, punitive damages, and reasonable

   attorneys’ fees and costs, and any and all further relief that this Court determines to be

   just and appropriate.

                                    COUNT XII
                       RETALIATION IN VIOLATION OF THE FCRA

             110.   Plaintiff re-alleges and adopts paragraphs 1 – 23 as though set forth fully

   herein.

             111.   Plaintiff is a member of a protected class under the FCRA because she

   engaged in protective activities.

             112.   Plaintiff engaged in protected activity when she complained to Human

   Resources about being treated differently because of her disability/handicap and

   discrimination that she experienced.

             113.   Plaintiff also engaged in protected activity when she filed her charge of

   discrimination against Defendant.


                                                  18
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 19 of 20 PageID 19




          114.    This retaliation resulted in Plaintiff’s termination.

          115.    By the conduct described above, Defendant treated Plaintiff differently

   than her non-African-American co-workers and engaged in unlawful employment

   practices and retaliated against Plaintiff because she engaged in protected activities in

   violation of the FCRA.

          116.    Defendant knew, or should have known, of the retaliation, discrimination

   and harassment that Plaintiff was subjected.

          117.    At all times material hereto, Defendant acted with malice and reckless

   disregard for Plaintiff’s state and federally protected rights.

          WHEREFORE, Plaintiff prays for a trial by jury and all legal and equitable relief

   allowed by law including:

              i. Back pay and benefits;

              j. Interest on back pay and benefits;

              k. Front pay and benefits;

              l. Compensatory damages for emotional pain and suffering;

              m. Injunctive relief;

              n. Prejudgment interest;

              o. Costs and attorney’s fees; and

              p. Such other relief as the Court may deem just and proper.

                                         JURY DEMAND

          The Plaintiff requests a trial by jury on all issues so triable.

          Respectfully submitted on this 19th day of September, 2019.



                                                  19
Case 6:19-cv-01815-CEM-LRH Document 1 Filed 09/19/19 Page 20 of 20 PageID 20




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